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UNlTED STATES DISTRICT CGURT ELE H\,I
SOUTHERN DISTRICT OF NEW YORK CTROMCALLY FILED

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UNITED STATES OF AMERICA PATE FILEDF `_ /1” “ ¢

-v- No. 05 Crim. 621 (RJS)
ORDER

ALBERTO WILLIAM VILAR and
GARY ALAN TANAKA,

Defendants.

 

 

RICHARD J. SULLIVAN, District Judge:

The Clerk of the Court is respectfully directed to docket the attached letter.

Dated: January 22, 2010
New York, New York

CHA . SULLIVAN
UNITED STATES DISTRICT JUDGE

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Subject: Vilar Sentencing

From: "John Burke" <JBurke@avatar-associates.com>
Date: Fri, 22 Jan 2010 12:01:49 -0500

To: <sullivannysdchambers@nysd.uscourts.gov>

Judge Su|livan,

l would like to take the time to put some thoughts out regarding the upcoming sentencing of A|bert Vi|ar. My
name is John Burke and my mother, Patricia Burkel happens to be Mr. Vilar's sister. l am therefore his nephew.
This is not easy for me since Mr. Vi|ar was an instrumental part of my early life, he afforded me many
opportunities, namely that of an education. However, as Mr. Vilar's career and life grew larger than life distance
has prevailed for several years.

ln 1980 my mother gave Mr. Vi|ar the proceeds from the sale of her family house to invest for her retirement the
sum of $150,000. He always claimed that her money was invested with his and was doing just fine, however
when l asked in the summer of 2000 to see the statements and accounting for my mother’s monies l was
rebuffed and told how could l question his integrity. Needless to say my mother had no documentation that she
had ever given her brother any monies and has been basically told she has nothing or any claim. My mother is
not the only family relative that this situation has happened to, he has also done a similar scam on his cousins,
his mother’s nieces and nephews.

The monies due my mother as of the 2000, based on Amerindo published returnsl on an original investment of
$150,000 in 1980 would have come to approximately $8 million. My point in all of this is that for all the contrition
Mr. Vi|ar may be showing at this time it is nonetheless false. He has totally screwed his family and to date has
never attempted to make amends for such a gross violation of trust. Unfoitunately, my mother still believes in
him and even though he has refused any contact with her she steadfastly has stood behind him, |, on the other
hand, having questioned him and found myself the ire of his disdain do not believe him to be contrite or feel that
he should be dealt with any form of leniency until he proposes some remedy to those he has cheated

l would like to thank you for taking the time to read my emai| and hope you see this man as self absorbed
asshole he is.

Thank you,
John A. Burke

 

John A. Burke
Avatar Associates, LLC
575 Lexington Avenue 8th Floor

New York, NY 10022
212-624-1892(v0ice)
212-624-1934(fax)

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